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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SUN GROUP U.S.A. HARMONY CITY,                     Case No. 17-cv-02191-SK
                                         INC.,
                                   8
                                                        Plaintiff,                          ORDER ON DISCOVERY DISPUTE
                                   9                                                        REGARDING DEPOSITION
                                                 v.
                                  10
                                         CRRC CORPORATION LTD,                              Regarding Docket No. 196
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Now before the Court is the discovery dispute regarding Plaintiffs’ attempts to conduct a

                                  14   deposition pursuant to Federal Rule of Civil Procedure 30(b)(6). Plaintiff Sun Group U.S.A.

                                  15   Harmony City, Inc. moves to compel a deposition of Defendant CRRC Corporation Ltd., even

                                  16   though Defendant claims that the individuals most knowledgeable about the topics listed in the

                                  17   Rule 30(b)(6) deposition reside in China. Defendant argues that, because China prohibits

                                  18   depositions for use in foreign courts. Defendant proposes that Plaintiff take depositions of

                                  19   Defendant’s employees in China through the Hague Convention’s processes. The Court DENIES

                                  20   the motion WITHOUT PREJUDICE. If Plaintiff is unable to take the deposition through the

                                  21   current process set forth in the Hague Convention or if the process yields results that are

                                  22   substantially inferior in such a way that Plaintiff can show prejudice, Plaintiff may renew the

                                  23   motion.

                                  24          IT IS SO ORDERED.

                                  25   Dated: September 9, 2021

                                  26                                                    ______________________________________
                                                                                        SALLIE KIM
                                  27                                                    United States Magistrate Judge
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